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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA


UNITED STATES OF AMERICA,                             CRIMINAL NO: 1:20-cr-010
          Plaintiff,
     vs.                                         MOTION TO CONTINUE TRIAL
CASEY RAY GANTT,                               DATE AND PLEA ENTRY DEADLINE
                  Defendant.



                COMES NOW the Defendant, by and through his attorney, Joseph J.
Hrvol, P. C., and states:
                1.     Trial herein is set for August 31, 2020.
                2.     The plea entry deadline was set for August 17, 2020.
                3.     On August 14, 2020, the Defendant filed a Motion to Extend Plea
Deadline herein, which has not yet been ruled on by the Court.
                4.     The Defendant and the Government have been engaged in
meaningful plea negotiations which are ongoing.
                5.     The Co-Defendant herein had previously filed a Motion to
Suppress which was recently overruled, and she has now entered a guilty plea to resolve
her case.
                6.     The Defendant requires additional time to complete plea
negotiations.
                7.     The Defendant understands and agrees that any continuances as a
result of this motion will not be counted for speedy trial purposes.
                8.     The Government has no objection to this continuance.
                WHEREFORE, the Defendant respectfully requests that the trial date and
plea entry deadlines be continued to such dates as may be set by the Court.
                                              Respectfully submitted,

                                              /S/     Joseph J. Hrvol, P. C.
                                              JOSEPH J. HRVOL, P.C., P01-000-7493
                                              541 6th Avenue, Council Bluffs, IA 51503
                                              712-322-0133, FAX: 712-322-9421
                                              ATTORNEY FOR THE DEFENDANT
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CERTIFICATE OF SERVICE:

I HEREBY CERTIFY THAT, ON AUGUST 25, 2020, I ELECTRONICALLY FILED THE FOREGOING WITH THE CLERK OF COURT USING THE
ECF SYSTEM, WHICH WILL SEND NOTIFICATION OF SUCH FILING TO THE FOLLOWING: ASSISTANT UNITED STATES ATTORNEY
SHELLY M. SUDMANN, AND ANY AND ALL OTHER ATTORNEYS OF RECORD.

/S/ JOSEPH J. HRVOL, P.C., P01-000-7493
